Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8052 Page 1 of 15



   1    MARK POE (Bar No. 223714)
         mpoe@gawpoe.com
   2    RANDOLPH GAW (Bar No. 223718)
   3     rgaw@gawpoe.com
        SAMUEL SONG (Bar No. 245007)
   4     ssong@gawpoe.com
        VICTOR MENG (Bar No. 254102)
   5     vmeng@gawpoe.com
   6
        GAW | POE LLP
        4 Embarcadero, Suite 1400
   7    San Francisco, CA 94111
        Telephone: (415) 766-7451
   8    Facsimile: (415) 737-0642
   9    Attorneys for Defendants,
  10    Counterclaimant, and Third-Party
        Plaintiffs
  11
                           UNITED STATES DISTRICT COURT
  12
                         SOUTHERN DISTRICT OF CALIFORNIA
  13

  14                                              Case No. 3:18-cv-840-GPC-BGS
           IN RE: OUTLAW LABORATORY,
  15       LP LITIGATION                          REPLY BRIEF IN SUPPORT
                                                  OF THE STORES’ MOTION
  16                                              FOR SANCTIONS
  17
                                                  Date:    December 18, 2020
  18                                              Time:    1:30 p.m.
                                                  Court:   2D
  19                                              Judge:   Hon. Gonzalo Curiel
  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                   REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                        CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8053 Page 2 of 15



   1                                            TABLE OF CONTENTS
   2
       PRELIMINARY STATEMENT ................................................................................ 1
   3
       ARGUMENT .............................................................................................................. 2
   4
       I.   TAULER SMITH’S FILINGS WERE FRIVOLOUS. ........................................ 3
   5

   6   II. TAULER SMITH HAD BAD FAITH AND INTENDED TO HARASS. ......... 7

   7   III. THE STORES’ REQUESTED FEES ARE REASONABLE. .......................... 10
   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                            REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                               i
                                                                                 CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8054 Page 3 of 15



   1                                           TABLE OF AUTHORITIES
   2
                                                                                                                            Page(s)
   3
       Cases
   4
       Cristo v. U.S. Sec. & Exch. Comm'n,
   5
          No. 19-CV-1910-GPC (MDD), 2020 WL 2735175 (S.D. Cal. May
   6      26, 2020) ................................................................................................................ 8
   7   Gurvey v. Legend Films, Inc.,
   8     No. 3:09-CV-00942 AJB, 2013 WL 12090309 (S.D. Cal. April 8,
         2013) ...................................................................................................................... 9
   9
       In re Itel Sec. Litig.,
  10
           791 F.2d 672 (9th Cir. 1986) ................................................................................. 8
  11
       In re Keegan Management Co. Sec. Litig.,
  12       78 F.3d 431 (9th Cir. 1996) ................................................................................... 2
  13
       Kerr v. Screen Extras Guild,
  14     526 F.2d 67 (9th Cir. 1975) ................................................................................. 10
  15   La Jolla Spa MD, Inc. v. Avidas Pharmaceuticals, LLC, No. 17-CV-
  16      1124-MMA, 2019 WL 4141237, at *4 (S.D. Cal. Aug. 30, 2019) ....................... 2
  17   Roadway Exp., Inc. v. Piper,
  18
         447 U.S. 752 (1980) .............................................................................................. 2

  19   Star Fabrics, Inc. v. Ross Stores, Inc.,
          No. CV 17-5877 PA, 2017 WL 10439691 (C.D. Cal. Nov. 20,
  20      2017) ...................................................................................................................... 8
  21
       Thayer v. Kabateck Brown Kellner LLP,
  22     207 Cal. App. 4th 141 (2012) ................................................................................ 5
  23   Other Authorities
  24
       Local Rule 2.1(a)(3)(k) ............................................................................................... 9
  25

  26

  27

  28
                                                                                 REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                                  ii
                                                                                      CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8055 Page 4 of 15



   1                             PRELIMINARY STATEMENT
   2         Contrary to the arguments in the opposition, the Stores did not bring this
   3   motion for sanctions because Tauler Smith and Messrs. Tauler and Sergenian
   4   (collectively, “Tauler Smith”) lost most of the motion practice in this action. This is
   5   apparent given that the Stores did not seek sanctions in connection with the following
   6   motions, despite winning all of them.1 (See, e.g., ECF Nos. 16 (Anti-SLAPP Motion
   7   to Strike), 38 (Motion to Dismiss Amended Counterclaims), 99 (Motion to Strike Poe
   8   Declaration), 116 (Motion to Compel Discovery), 168 (Motion for Judgment on the
   9   Pleadings), 184 (Motion to Modify Case Schedule), 261 (Tauler Smith Motion for
  10   Summary Judgment), and 277 (Ex Parte Application to Quash Valerio Subpoena).)
  11         Instead, as explained in their opening brief, the Stores seek sanctions against
  12   Tauler Smith with respect to certain, specific motions because it repeatedly and
  13   reflexively filed those papers while making frivolous legal arguments, false factual
  14   contentions, and misrepresentations of the law and the facts. And in many of these
  15   same filings, it repeatedly disparaged the ethics of Gaw Poe’s attorneys without
  16   foundation, resulting in the public filing of numerous (false) allegations against these
  17   lawyers that they will have to navigate for the rest of their careers.
  18         More importantly, the evidence is clear and convincing that Tauler Smith acted
  19   with bad faith in waging its scorched earth campaign. As Mr. Tauler himself wrote
  20   on July 2, 2020:
  21

  22

  23   (ECF No. 300-26 at 1.) Tauler Smith must face the consequences for its abusive
  24   conduct, and the Stores respectfully request that the Court grant their motion in full.
  25

  26         1
                Some of these motions were granted/denied in part, so the Stores don’t
       mean to suggest they achieved complete victory as to all of them. But the
  27   substance of the Court’s orders show that the Stores substantially prevailed in terms
       of the relief awarded (or denied, as the case may be).
  28
                                                          REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                1
                                                               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8056 Page 5 of 15



   1                                      ARGUMENT
   2         Tauler Smith’s opposition asserts several incorrect arguments in an effort to
   3   reset the standards by which the Court must evaluate this motion. For example,
   4   Tauler Smith asserts – without citation – that the Court cannot award section 1927
   5   sanctions unless “each of the motions filed and opposed by Tauler Smith are
   6   vexatious.” (Opp. at 1.) As is clear from governing case law, however, any single
   7   filing (other than the initial complaint) is within the purview of section 1927. (Mot.
   8   at 16-17.) Nor does Tauler Smith’s wished-for restriction exist for sanctions made
   9   under the Court’s inherent powers.2 (Id. at 21-22.) Thus, should the Court determine
  10   that some, but not all of Tauler Smith’s filings are sanctionable, the Stores have
  11   already apportioned out how much attorney time they have spent with respect to each
  12   of the different categories of filings at issue. (ECF Nos. 300-29 & 300-30.)
  13         As another example, Tauler Smith seems to think that section 1927 motions
  14   are not applicable to dispositive motions because they seek to dismiss claims and
  15   therefore do not “multiply” the proceedings.        (Opp. at 5.)    “Multiplying” the
  16   proceedings, however, means to engage in “unnecessary filings and tactics once a
  17   lawsuit has begun.” In re Keegan Management Co. Sec. Litig., 78 F.3d 431, 435 (9th
  18   Cir. 1996). If it were true that any motion seeking to reduce or eliminate claims were
  19   exempt from the scope of section 1927, Tauler Smith presumably would have cited
  20   some authority to that effect. It did not, and the Stores are not aware of any.
  21         In yet another example, Tauler Smith correctly cites that courts have held that
  22   the requisite “bad faith” finding must be established by clear and convincing
  23   evidence. (Opp. at 4.) But then it attempts to shoehorn the entire motion itself under
  24   the clear and convincing standard, by claiming that the Stores must demonstrate that
  25
             2
               Tauler Smith makes the same argument on page 4 of its Opposition citing
  26   La Jolla Spa MD, Inc. v. Avidas Pharmaceuticals, LLC, No. 17-CV-1124-MMA,
       2019 WL 4141237, at *4 (S.D. Cal. Aug. 30, 2019) and Roadway Exp., Inc. v.
  27   Piper, 447 U.S. 752, 766 (1980). Neither case has this holding, however. Once
       again, Tauler Smith misrepresented the holdings of the cases it cited. (Mot. at 15.)
  28

                                                         REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                               2
                                                              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8057 Page 6 of 15



   1    Tauler Smith was “unreasonable and vexatious” under the clear and convincing
   2    standard. (Opp. at 5.) The case law, however, is clear as to the proper standard to
   3    apply to this sanctions motion. (Mot. at 16-17, 21-22.) And that case law holds that
   4    the clear and convincing standard applies only to the bad faith element. (Id.)
   5          The standards for sanctions motions brought under section 1927 or the Court’s
   6    inherent powers are clear. Tauler Smith’s filings were frivolous. Moreover, there is
   7    clear and convincing evidence that Tauler Smith acted with bad faith, either because
   8    they made their filings recklessly, or because they made their filings with the intent
   9    to harass. As the attorney time and rates requested by the Stores are reasonable, the
  10    Court should grant this sanctions motion in full. Furthermore, the Court should issue
  11    a self-report sanction upon Mr. Tauler due to his egregious conduct.
  12   I.     TAULER SMITH’S FILINGS WERE FRIVOLOUS.
  13          Tauler Smith does not deny that “frivolousness” means “legal or factual
  14    contentions so weak as to constitute objective evidence of improper purpose.” (Mot.
  15    at 16, 21-22) (emphasis added).)3 But instead of disputing whether its filings were
  16    “frivolous,” Tauler Smith instead argues that those filings were not “unreasonable
  17    and vexatious” because it did not have any subjective mal-intent behind those filings.
  18    The subjective motivations possessed by Tauler Smith, however, have nothing to do
  19    with whether its filings were frivolous. To the extent that such subjective beliefs
  20    have any relevance, they would pertain only to the bad faith analysis.
  21          Turning to the specific arguments made in Tauler Smith’s opposition:
  22          MJOP:     Tauler Smith argues only that the motion did not multiply the
  23    proceedings because it sought to dismiss claims, and that it was not brought for an
  24    improper purpose. (Opp. at 5.) It does not address the Stores’ argument that the
  25
              3
                Sanctions under the Court’s inherent powers do not require frivolousness
  26    per se. (Mot. at 21-22.) But they require a finding of bad faith, which can be
        demonstrated by showing that a party recklessly made a frivolous argument. (Id.)
  27    Hence, the Stores demonstrating that Tauler Smith’s filings were frivolous is
        relevant to both the section 1927 analysis and the inherent powers analysis.
  28

                                                         REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                               3
                                                              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8058 Page 7 of 15



   1   MJOP was frivolous because it was based on (i) the same Noerr-Pennington
   2   arguments the Court had already rejected two different times with lengthy
   3   explanations and (ii) Mr. Tauler’s speculative and unsupported motivations about
   4   Gaw Poe and its clients. (Mot. at 4-5, 17.)
   5         Mot. for Leave – SACC: Tauler Smith argues that it was simply engaged in
   6   zealous advocacy with respect to these motion filings, that the Court expected it to
   7   file a motion to dismiss, that dispositive motions cannot multiply proceedings, that it
   8   did not regurgitate previously made arguments, that it can always file a motion for
   9   reconsideration, and that the Court can always change its mind. (Opp. at 6-8.) Once
  10   again, Tauler Smith did not address the Stores’ specific arguments regarding the
  11   frivolousness of these filings. (Mot. at 5-7, 17.)
  12         Again, the point is not that Tauler Smith filed or opposed motions and lost.
  13   The point is that it kept making the exact same argument over and over, in order to
  14   keep Gaw Poe “tied up.” For example, after having its Noerr-Pennington argument
  15   rejected for a third time on its MJOP, Tauler Smith then (unsuccessfully) raised the
  16   same argument for a fourth and fifth time. (Mot. at 4-7.) It also argued for the
  17   second, third, and fourth time that a law firm’s conduct could not, as a matter of law,
  18   form the basis of a RICO predicate act. (Id.) It additionally argued for a second and
  19   third time that the Stores had failed to plead fraud with particularity.4 (Id.) It is not
  20   zealous advocacy to keep advancing the same losing argument over and over. It is
  21   the very definition of multiplying the proceedings, because the Stores and the Court
  22   had to address the same issue raised by Tauler Smith a third, fourth, or fifth time.
  23         Moreover, Tauler Smith’s principal argument – that the Court can always
  24   reconsider its interlocutory orders – is itself frivolous. A court is obviously free to
  25   reconsider its own rulings sua sponte. But there are standards that apply when a party
  26
             4
                Tauler Smith cites the Court’s opinion holding that Rule 9(b) challenges are
  27   best left to a motion to dismiss, but fails to cite the part of the opinion holding that
       the Stores’ allegations meets those requirements anyway. (ECF No. 113 at 15.)
  28

                                                            REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                               4
                                                                 CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8059 Page 8 of 15



   1   is asking a Court to reconsider its interlocutory rulings. Tauler Smith does not even
   2   acknowledge these standards, even though this Court has literally explained those
   3   same standards in several of its orders cited by the Stores in their opening brief.
   4   (ECF No. 243 at 2 (citing authorities); ECF No. 251 at 2 (citing authorities).) It is
   5   truly baffling that in hoping to defeat a motion for sanctions, Tauler Smith doubles
   6   down by engaging in the same type of behavior the Stores are seeking to sanction.
   7         Anti-SLAPP Motion: Tauler Smith again repeats its erroneous argument that
   8   this motion did not multiply the proceedings because it sought to dismiss a claim.
   9   (Opp. at 8.) It then argues that the motion could not have been vexatious because it
  10   was “well-researched and made detailed arguments” and because the case Tauler
  11   Smith cited in its briefs – Thayer v. Kabateck Brown Kellner LLP, 207 Cal. App. 4th
  12   141, 154 (2012) – supported its arguments. (Id. at 9.)
  13         Needless to say, Tauler Smith did not address the Stores’ specific arguments
  14   regarding the frivolousness of these filings. (Mot. at 8, 18.) In both the anti-SLAPP
  15   briefing and in its Opposition to this motion, Tauler Smith fails to address the central
  16   point of the Court’s prior ruling on the anti-SLAPP issues: that rescission is a remedy,
  17   not a cause of action. (ECF No. 190 at 32-33.) Tauler Smith’s briefing was neither
  18   “well-researched,” nor its “detailed arguments” meritorious given that it simply
  19   chose to ignore this fundamental aspect of California law that the Court had already
  20   elucidated upon at length in its prior order denying the first anti-SLAPP motion. And
  21   the Stores have no idea why Tauler Smith cites the Thayer case considering that it
  22   does not concern rescission in any way.
  23         Rule 11 Motion: Tauler Smith appears to argue that its Rule 11 motion was
  24   not “vexatious” because while it was supported only by Mr. Tauler’s declaration, the
  25   Stores’ motion for sanctions is “largely based on declarations from the Stores’
  26   counsel and out-of-context e-mail exchanges designed solely to make Mr. Tauler
  27   look bad.” (Opp. at 9.) Tauler Smith, however, misapprehends the role of evidence
  28   with respect to the differing motions. With respect to this motion, there is no

                                                         REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                               5
                                                              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8060 Page 9 of 15



   1   “evidence” that the Stores are relying upon to establish the objective frivolousness of
   2   Tauler Smith’s filings. As outlined in the opening brief, the objective frivolousness
   3   is demonstrated by Tauler Smith’s own filings, precedent, and the Court’s prior
   4   rulings to those filings. (Mot. at 9-10, 18.) And the (single) declaration submitted
   5   by the Stores is primarily used to authenticate Mr. Tauler’s e-mails that the Stores
   6   introduce as part of their bad faith analysis.
   7         The fundamental contrast in approaches illustrates why Tauler Smith’s Rule
   8   11 motion was frivolous. It sought to sanction the Stores, Gaw Poe, and Mr. Poe for
   9   making “knowingly false statements,” but then failed to present any evidence that
  10   any statements were false, let alone knowingly false. (Mot. at 8.) Instead, Mr. Tauler
  11   recklessly submitted sworn statements that the Counterclaims made false allegations
  12   because he decreed they were false. (Id. at 8.) And when challenged on the lack of
  13   proof, Mr. Tauler simply unleashed vitriolic attacks upon Mr. Poe personally. (Id. at
  14   9.) Whereas for this motion, the Stores demonstrate Tauler Smith’s bad faith in part
  15   by using its own non-hearsay, party admissions against it. (ECF Nos. 300-6 to 300-
  16   28.) In other words, the Stores are not accusing Tauler Smith of bad faith “just
  17   because.” Rather, they are establishing Tauler Smith’s bad faith because Tauler
  18   Smith repeatedly put down proof of such bad faith in writing.
  19         Motion to Disqualify: Tauler Smith did not address the Stores’ specific
  20   arguments as to why these filings were frivolous. (Mot. at 10-11, 18.) Instead, it
  21   recklessly asserts that “it was clear that Gaw Poe was intending on using confidential
  22   information in this action, and that there is case law supporting Tauler Smith’s
  23   position.” (Opp. at 10.) Unless this sanctions motion is granted, Tauler Smith will
  24   only continue making these inflammatory, baseless assertions. Apart from the
  25   complete absence of any evidence showing Gaw Poe’s intent on using any of Tauler
  26   Smith’s confidential information, the Court’s order on this motion definitively
  27   established that Tauler Smith’s communications with Mr. Valerio are not
  28   confidential because they are not protected by the attorney-client privilege or the

                                                         REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                6
                                                              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8061 Page 10 of 15



    1   “non-existent ‘bookkeeping’ privilege’” and that there is no evidence that “any
    2   privileged information had been conveyed to Gaw | Poe.” (ECF No. 244 at 18.)
    3   Moreover, a third-party’s personal knowledge that a defendant engaged in criminal
    4   conduct is neither “confidential” nor “privileged.”
    5         Discovery Disputes: This is the first instance of Tauler Smith responding to
    6   the substance of the Stores’ arguments regarding frivolousness. Regarding the first
    7   discovery motion, Tauler Smith’s claim that it offered to compromise (Opp. at 11),
    8   ignores the point that it nevertheless frivolously argued to Magistrate Skomal that it
    9   had no obligation to respond to any discovery requests at all, both because a second
   10   Rule 26(f) conference needed to take place and because it had filed a motion to
   11   dismiss the Stores’ counterclaims. (Mot. at 14-15.) Making those arguments
   12   multiplied the proceedings, because both the Stores and Magistrate Skomal were now
   13   required to address them.
   14         As for the second discovery motion, Tauler Smith does not defend its filings
   15   but instead argues that it was not sanctioned by Magistrate Skomal, so its actions
   16   could not have been that bad. The Stores, however, did not request sanctions at that
   17   time. (ECF No. 215 at 12-13.) They are requesting sanctions now.
   18         Other Motions: Tauler Smith does not address, in any way, its sanctionable
   19   conduct in briefs regarding the DG in PB defendants’ motion for summary judgment
   20   or the Stores’ motion for class certification. (Mot. at 12-14.)
   21 II.     TAULER SMITH HAD BAD FAITH AND INTENDED TO HARASS.
   22         Tauler Smith completely ignores an entire section in the Stores’ motion – that
   23   the clear and convincing evidence of Tauler Smith’s recklessness in (i)
   24   misrepresenting facts to the Court, (ii) advancing frivolous legal arguments, and (iii)
   25   refusing to correct or withdraw non-meritorious litigation positions satisfies the bad
   26   faith requirement for sanctions. (Mot. at 17-20, 22.) It also ignores the Stores’
   27   argument that Mr. Tauler’s past Rule 11 sanction and his past three Rule 11 warnings
   28   also demonstrate his personal bad faith. (Id. at 20, 22.) It additionally ignores the

                                                          REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                7
                                                               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8062 Page 11 of 15



    1   Stores’ argument that there is also clear and convincing evidence of Mr. Tauler’s
    2   intent to harass the Stores as demonstrated by his (i) unrelenting animus towards Gaw
    3   Poe, (ii) his personally suing all of Gaw Poe’s attorneys in the Valerio lawsuit, (iii),
    4   his repeated issuance of unsolicited, harassing e-mails to Gaw Poe’s attorneys, and
    5   (iv) his issuance of libelous statements about Gaw Poe to opposing counsel in Gaw
    6   Poe’s other cases. (Mot. at 20-22.) “Because [Tauler Smith] has failed to oppose the
    7   arguments, they are conceded and waived[.]” Cristo v. U.S. Sec. & Exch. Comm'n,
    8   No. 19-CV-1910-GPC (MDD), 2020 WL 2735175, at *6 (S.D. Cal. May 26, 2020).
    9   See also Star Fabrics, Inc. v. Ross Stores, Inc., No. CV 17-5877 PA (PLAX), 2017
   10   WL     10439691,      at   *3    (C.D.       Cal.   Nov.   20,    2017)     (“Where     a
   11   party fails to oppose arguments made in a motion, a court may find that the party
   12   has conceded those arguments.”).
   13         Instead, Tauler Smith first addresses the Stores’ reliance on In re Itel Sec.
   14   Litig., 791 F.2d 672 (9th Cir. 1986). (Opp. at 13-14.) That case applies only to the
   15   Stores’ request for sanctions pursuant to the Court’s inherent authority, and the Stores
   16   cited it to demonstrate Mr. Tauler’s bad faith because he filed the Valerio action to
   17   get a tactical advantage in this action. (Mot. at 23.) This attempt at a tactical
   18   advantage is simply an additional data point that should be viewed along with the
   19   other evidence of Tauler Smith’s bad faith that it has “conceded and waived.”
   20         But even so, Tauler Smith’s attempt to distinguish its actions in the Valerio
   21   case from In re Itel lack merit. Tauler Smith argues that unlike the lawyer in Itel, it
   22   never admitted to filing the Valerio action for a tactical purpose. It is true that Tauler
   23   Smith has never made such an admission, but the Ninth Circuit never limited the
   24   holding of Itel to cases where the lawyer admits to the improper conduct. More
   25   importantly, it simply is not true either that Mr. Valerio “stole privileged and
   26   confidential material belonging to Tauler Smith” or that Tauler Smith filed the
   27   Valerio action as a response. (Opp. at 13-14.) The proof is in the pudding. Tauler
   28   Smith voluntarily dismissed without prejudice the Valerio action on September 22,

                                                            REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                 8
                                                                 CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8063 Page 12 of 15



    1   2020. (Supp. RJN Ex. B.) Hardly the action that a righteous litigant would take if
    2   its materials had actually been stolen. Of course, it filed this dismissal the day after
    3   the issuance of a tentative ruling sanctioning Mr. Tauler and Tauler Smith, jointly
    4   and severally, in the amount of $1,060. (Supp. RJN Ex. C at 3.)5 Tauler Smith filed
    5   the Valerio action solely to get an advantage in this case, and when his actions caught
    6   up to him and he faced consequences, he promptly abandoned that lawsuit.
    7         Second, Tauler Smith addresses Civil Local Rule 2.1(a)(3)(k). Once again, it
    8   presents the canard that “Gaw Poe was intending on using confidential information.”
    9   (Opp. at 14.) Tauler Smith additionally mischaracterizes Mr. Valerio as its “former
   10   employee.” (Opp. at 14.) In reality, of course, Mr. Valerio was an independent
   11   contractor. (ECF No. 244 at 2.) Nor did the Court “explicitly warn Gaw Poe not to
   12   accept privileged information from Mr. Valerio.” (Opp. at 14; ECF No. 244 at 17-
   13   18.) What the Court did state is that it had the “impression that the motion may have
   14   been filed for ‘tactical purposes’ given Tauler Smith’s inability to identify an
   15   applicable privilege[.]” (ECF No. 244 at 16.) That correct impression means that
   16   Tauler Smith’s violation of the Local Rule is grounds for sanctions. (Mot. at 23.)
   17         Third, Tauler Smith attempts to distinguish Gurvey v. Legend Films, Inc., No.
   18   3:09-CV-00942 AJB, 2013 WL 12090309 (S.D. Cal. April 8, 2013). (Opp. at 14-
   19   15.) In that case, a pro se litigant was sanctioned for filing a baseless motion to
   20   vacate that advanced the same arguments made in a prior motion to vacate, and in
   21   two prior ex parte applications. Id. at *3. Those were four filings in total, whereas
   22   here, on the Noerr-Pennington arguments alone, Tauler Smith filed five (!) losing
   23   motions/oppositions. (Mot. at 4-7.) If a pro se litigant could get sanctioned for
   24   making a single frivolous filing, then Tauler Smith should be sanctioned for making
   25   multiple frivolous filings.
   26
              5
                Mr. Tauler also misrepresented to the Superior Court that he had met and
   27   conferred with Gaw Poe in connection with the motion to compel discovery that is
        the subject of the tentative ruling. (Supp. RJN Ex. C at 2.)
   28

                                                          REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                                9
                                                               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8064 Page 13 of 15



    1 III.    THE STORES’ REQUESTED FEES ARE REASONABLE.
    2         Tauler Smith does not present any evidence to dispute the reasonableness of
    3   the Stores’ requested attorney rates. It does not contest the basis for the AdTrader
    4   ruling, the figures presented in the Real Rate Reports, or judicial opinions from the
    5   Southern and Central District approving the reasonableness of comparable rates.
    6         Instead, Tauler Smith merely sets forth the Kerr factors and claims that the
    7   “claimed hourly rate should be commensurate with ‘the novelty and difficulty of the
    8   questions involved’” and that, basically, if Tauler Smith’s motions were “vexatious”
    9   then they should have been easy to oppose and little time should have been spent.
   10   (Opp. at 15-16.) The Stores’ evidence, however, satisfies the Kerr factors which, in
   11   any event, are used to judge the reasonableness of the overall award of attorney’s
   12   fees, as opposed to determining a reasonable hourly rate. See Kerr v. Screen Extras
   13   Guild, 526 F.2d 67, 70 (9th Cir. 1975) (“We adopt these guidelines as appropriate
   14   factors to be considered in the balancing process required in a determination of
   15   reasonable attorney's fees.”). Tauler Smith also ignores the precedent holding that
   16   the Kerr factors are not “rigidly applied” in determining a sanctions award. (Mot. at
   17   23 (citing Matter of Yagman, 796 F.2d 1165, 1184-85 (9th Cir. 1986)).
   18         As for the argument that a “vexatious” filing should result in some kind of
   19   discount off of the opposing attorney’s time and rate because that filing was meritless,
   20   there is not a single case that has ever adopted that idea. In any event, Tauler Smith
   21   repeatedly undermines its own argument elsewhere in its opposition brief. (See, e.g.,
   22   Opp. at 4 (“This is a complex case”), 12 (“especially in a complex civil case like this
   23   one”), 15 (“complex RICO case”).) Moreover, Gaw Poe’s time records show they
   24   did not, in fact, spend much time on the filings at issue in this motion. (ECF No.
   25   300-30.) Gaw Poe’s attorneys never spent more than 13 hours on any particular filing
   26   and spent fewer than 6 hours in connection with more than half of the filings at issue.
   27   (Id.) As such, the time spent by them was indeed commensurate with “the novelty
   28   and difficulty of the questions involved[.]” Kerr, 526 F.2d at 70.

                                                          REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                               10
                                                               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8065 Page 14 of 15



    1
          Dated: November 16, 2020            GAW | POE LLP
    2

    3
                                              By:
    4                                                Randolph Gaw
                                                     Attorneys for Defendants,
    5                                                Counterclaimant, and Third-Party
    6                                                Plaintiffs

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                                    REPLY ISO PLTFS’ MOT. FOR SANCTIONS
                                         11
                                                         CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 332 Filed 11/16/20 PageID.8066 Page 15 of 15



    1                            CERTIFICATE OF SERVICE
    2                           Case No. 3:18-cv-1882-GPC-BGS
    3         I HEREBY CERTIFY that on November 16, 2020, I filed the following
    4   documents with the Clerk of the Court using CM/ECF. I also certify that the
    5   foregoing document is being served this day either by Notice of Electronic Filing
    6   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
    7   service.
    8
          REPLY BRIEF IN SUPPORT OF THE STORES’ MOTION FOR
    9
          SANCTIONS
   10

   11

   12                                                 GAW | POE LLP
   13

   14
                                                      By:   s/ Randolph Gaw
   15                                                       Randolph Gaw
                                                            Attorneys for Defendants,
   16                                                       Counterclaimant, and Third-Party
                                                            Plaintiffs
   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                                                CERT. OF SERVICE
                                                  1
                                                                 CASE NO. 3:18-CV-840-GPC-BGS
